 Case 1:18-cv-07692-PGG-BCM Document 264-7 Filed 09/13/21 Page 1 of 2




             Exhibit G
                       to Hawkins Declaration

Plaintiffs’ Reply in Further Support of Motion for Class Certification


   Michelo et al. v. Nat’l Collegiate Student Loan Trust 2007-2 et al., No. 18-CV-1781
   Bifulco et al. v. Nat’l Collegiate Student Loan Trust 2004-2 et al., No. 18-CV-7692
                                                     Case 1:18-cv-07692-PGG-BCM Document 264-7 Filed 09/13/21 Page 2 of 2


BEGBATES           ENDBATES           FILEEXT AUTHOR CREATEDATE CREATETIME DATELASTMOD TIMELASTMOD FILENAME              PGCOUNT FAMDATE    FAMTIME PATH
NCSLT_SLF_000001   NCSLT_SLF_000004   PDF    jboyd   12/23/2014   8:33 AM   12/23/2014   8:33 AM   2004‐2 Bank one.pdf   4       12/23/2014 8:33 AM   /Affiant Folder/2018 Location/Pool Supplements/2004‐2/2004‐2 Bank one.pdf
